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U.S. Department of Justice

United States Attorney
District of New Jersey

970 Broad Street, 7 floor 973-645-2700
Newark, New Jersey 07102

MJP/PL AGR

April 2, 2023

Robert Hazzard, Esq.
Demidchik Law Firm PLLC
136-18 39th Ave. 8th Floor
Flushing, NY 11354

Re: Plea Agreement with Yungin Liu

Dear Myr. Hazzard:

This letter sets forth the plea agreement between your client, Yunqin Liu
(“Liu”), and the United States Attorney for the District of New J ersey (“this Office”).
This offer will expire on April 21, 2028, if it is not accepted in writing by that date.
If Liu does not accept this plea agreement, her sentencing exposure could increase
beyond what is discussed in this plea agreement as a result of this Office’s
investigation.

Charge

Conditioned on the understandings specified below, this Office will accept a
guilty plea from Liu to a one-count Information, which charges Liu with operation
and aiding and abetting the conduct of an unlicensed money transmitting business,
in violation of 18 U.S.C. §§ 1960(a), (b)(1)(A), and (b)(1)(B) and 18 U.S.C. § 2. If Liu
enters a guilty plea and is sentenced on this charge and otherwise fully complies
with this agreement, this Office will not initiate any further criminal charges
against Liu for her involvement in an unlicensed money transmitting business,
money laundering, or bribing bank employees from in or around 2020 through in or
around 2022.

But if a guilty plea in this matter is not entered for any reason or a guilty
plea or judgment of conviction entered in accordance with this agreement does not
remain in full force and effect, this Office may reinstate any dismissed charges and
initiate any other charges against Liu even if the applicable statute of limitations
period for those charges expires after Liu signs this agreement, and Liu agrees not
to assert that any such charges are time-barred.
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Sentencing

The violation of 18 U.S.C. § 1960 to which Liu agrees to plead guilty carries a
statutory maximum prison sentence of 5 years and a statutory maximum fine equal
to the greatest of: (1) $250,000; (2) twice the gross amount of any pecuniary gain
that any persons derived from the offense; or (3) twice the gross amount of any
pecuniary loss sustained by any victims of the offense. Fines imposed by the
sentencing judge may be subject to the payment of interest.

The sentence to be imposed upon Liu is within the sole discretion of the
sentencing judge, subject to the provisions of the Sentencing Reform Act, 18 U.S.C.
§§ 3551-3742, and the sentencing judge’s consideration of the United States
Sentencing Guidelines. Those Guidelines are advisory, not mandatory. The
sentencing judge may impose any reasonable sentence up to and including the
statutory maximum term of imprisonment and the maximum statutory fine. This
Office cannot and does not make any representation or promise as to what
Guidelines range may be found by the sentencing judge, or as to what sentence Liu
ultimately will receive.

Further, in addition to imposing any other penalty on Liu, the sentencing
judge as part of the sentence:

(1) will order Liu to pay an assessment of $100 pursuant to 18 U.S.C.
§ 3013, which assessment must be paid by the date of sentencing;

(2) must order forfeiture, pursuant to 18 U.S.C. § 982; and

(3) pursuant to 18 U.S.C. § 3583, may require Liu to serve a term of
release of not more than 3 years, which will begin at the expiration of
any term of imprisonment imposed. Should Liu be placed on a term of
supervised release and subsequently violate any of the conditions of
supervised release before the expiration of its term, Liu may be
sentenced to not more than 2 years’ imprisonment in addition to any
prison term previously imposed, regardless of the statutory maximum
term of imprisonment set forth above and without credit for time
previously served on post-release supervision, and may be sentenced to
an additional term of supervised release.

Forfeiture

Liu agrees that, as part of her acceptance of responsibility and pursuant to 18
U.S.C. § 982(a)(1), she will forfeit to the United States, any and all property
involved in, or traceable to, the violation of 18 U.S.C. § 1960 charged in the
Information. Liu further agrees to forfeit all of her right, title and interest in the
sums of money and property listed below (collectively, the “Specific Property”),

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which were seized by law enforcement during the investigation into Liu, and which
Liu admits has the requisite nexus to the offense charged in the Information and
therefore is forfeitable to the United States of America pursuant to 18 U.S.C. §
982(a)(1):

a. $3,622,313.53 in cash, seized from Liu and/or co-conspirators on or about
May 7, 2021 in or around Queens, New York;

b. $245,000 in official checks, which were seized from Liu and/or co-
conspirators on or about May 7, 2021 in or around Queens, New York;

c. $24,854.87 in money orders, which were seized from Liu and/or co-
conspirators on or about May 7, 2021 in or around Queens, New York;

d. One white 2015 Lexus LX 570, which was seized from Liu and/or co-
conspirators on or about May 7, 2021 in or around Queens, New York; and

e. The contents of the following bank accounts:

1. Bank of America account number ********2798-

2 Royal Business Bank account number ****2321:
3. Royal Business Bank account number ******7326;
4, Amerasia Bank account number ****0782;

5. Amerasia Bank account number ****5384;

6. Amerasia Bank account number ****2253;

7. Citibank account number ******8007;

8. Citibank account number ******3816;

9. Citibank account number ******3824:

10. Citibank account number ******8424.
11. Citibank account number ******8432:
12. JP Morgan Chase account number *****0106;

13. Capital One Bank account number ******3333; and
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14. Capital One Bank account number ******5528,

Liu further consents to the administrative and/or civil judicial forfeiture of
the Specific Property pursuant to 18 U.S.C. § 981(a). Liu agrees that she will not
file a claim or a petition for remission or mitigation in any forfeiture proceeding
involving the Specific Property and will not cause or assist anyone else in doing so.
To the extent Liu has filed a claim or petition in any administrative or civil judicial
forfeiture proceeding involving the Specific Property, such claims or petitions are
hereby deemed withdrawn. Liu further agrees to take all necessary steps to pass
clear title to the Specific Property to the United States, including, but not limited to,
the surrender of such property to the United States Marshals Service and the
execution of all necessary documentation.

Liu waives the requirements of Rules 32.2 and 43(a) of the Federal Rules of
Criminal Procedure regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in
the judgment. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal
Procedure, Liu consents to the entry of a Consent Judgment of Forfeiture that will
be final as Liu prior to her sentencing. Liu understands that criminal forfeiture
pursuant to 18 U.S.C. § 982(a)(1) is part of the sentence that may be imposed in this
case and waives any failure by the court to advise her of this pursuant to Rule
11(b)(1)(J) of the Federal Rules of Criminal Procedure at the guilty plea proceeding.
It is further understood that any forfeiture of Liu’s assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the
Court may impose upon her in addition to forfeiture. Liu hereby waives any and all
claims that this forfeiture constitutes an excessive fine and agrees that this
forfeiture does not violate the Eighth Amendment.

Liu further agrees that not later than the date she enters her plea of guilty
she will provide a complete and accurate Financial Disclosure Statement on the
form provided by this Office. If Liu fails to provide a complete and accurate
Financial Disclosure Statement by the date she enters her plea of guilty, or if this
Office determines that Liu has intentionally failed to disclose assets on her
Financial Disclosure Statement, Liu agrees that that failure constitutes a material
breach of this agreement, and this Office reserves the right, regardless of any
agreement or stipulation that might otherwise apply, to oppose any downward
adjustment for acceptance of responsibility pursuant to U.S.S.G. § 3E1.1, and to
seek leave of the Court to withdraw from this agreement or seek other relief.

Rights of This Office Regarding Sentencing

Except as otherwise provided in this agreement, this Office may take any
position with respect to the appropriate sentence to be imposed on Liu by the
sentencing judge. This Office may also correct any misstatements relating to the

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sentencing proceedings and provide the sentencing judge and the United States
Probation Office all law and information relevant to sentencing, favorable or
otherwise. And this Office may inform the sentencing judge and the United States
Probation Office of: (1) this agreement; and (2) the full nature and extent of Liu’s
activities and relevant conduct with respect to this case.

Stipulations

This Office and Liu will stipulate at sentencing to the statements set forth in
the attached Schedule A, which is part of this plea agreement. Both parties
understand that the sentencing judge and the United States Probation Office are
not bound by those stipulations and may make independent factual findings and
may reject any or all of the parties’ stipulations. Nor do these stipulations restrict
the parties’ rights to respond to questions from the Court and to correct
misinformation that has been provided to the Court.

This agreement to stipulate on the part of this Office is based on the
information and evidence that this Office possesses as of the date of this agreement.
Thus, if this Office obtains or receives additional evidence or information prior to
sentencing that it believes materially conflicts with a Schedule A stipulation, that
stipulation shall no longer bind this Office. A determination that a Schedule A
stipulation is not binding shall not release the parties from any other portion of this
agreement, including any other Schedule A stipulation.

If the sentencing court rejects a Schedule A stipulation, both parties reserve
the right to argue on appeal or at post-sentencing proceedings that the sentencing
court did so properly. Finally, to the extent that the parties do not stipulate toa
particular fact or legal conclusion in this agreement, each reserves the right to
argue how that fact or conclusion should affect the sentence.

Waiver of Appeal and Post-Sentencing Rights

As set forth in Schedule A and the paragraph below, this Office and Liu
waive certain rights to appeal, collaterally attack, or otherwise challenge the
judgment of conviction or sentence.

Immigration Consequences

Li understands that, if Liu is not a citizen of the United States, Liu’s guilty
plea to the charged offense will likely result in Liu being subject to immigration
proceedings and removed from the United States by making Liu deportable,
excludable, or inadmissible, or ending Liu’s naturalization. Liu understands that
the immigration consequences of this plea will be imposed in a separate proceeding
before the immigration authorities. Liu wants and agrees to plead guilty to the
charged offense regardless of any immigration consequences of this plea, even if this

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plea will cause Liu’s removal from the United States. Liu understands that Liu is
bound by this guilty plea regardless of any immigration consequences. Accordingly,
Liu waives any right to challenge the guilty plea, sentence, or both based on any
immigration consequences. Liu also agrees not to seek to withdraw this guilty plea,
or to file a direct appeal, or any kind of collateral attack challenging the guilty plea,
conviction, or sentence, based on any immigration consequences of the guilty plea or
sentence.

Other Provisions

This agreement is limited to the United States Attorney’s Office for the
District of New Jersey and cannot bind other federal, state, or local authorities. If
requested to do so, however, this Office will bring this agreement to the attention of
other prosecuting offices.

This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against Liu. So this
agreement does not prohibit the United States, any agency thereof (including the
Internal Revenue Service and Immigration and Customs Enforcement) or any third
party from initiating or prosecuting any civil or administrative proceeding against
her.

No provision of this agreement shall preclude Liu from pursuing in an
appropriate forum, when permitted by law, a claim that she received
constitutionally ineffective assistance of counsel.
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No Other Promises

This agreement constitutes the entire plea agreement between Liu and this
Office and supersedes any previous agreements between them. No additional
promises, agreements, or conditions have been made or will be made unless set
forth in writing and signed by the parties.

Very truly yours,

PHILIP R. SELLINGER
United States Attorney

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By: Mark J. Pesce
Assistant U.S. Attorney

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Token L. Haber
Chief, Economic Crimes Unit

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I have received this letter from my attorney, Robert Hazzard, Esq. It has
been translated for me into Mandarin. My attorney and I have reviewed and
discussed it and all of its provisions, including those addressing the charge,
sentencing, stipulations (including the attached Schedule A), waiver, forfeiture, and
immigration consequences. I understand this letter fully and am satisfied with my
counsel’s explanations. I accept its terms and conditions and acknowledge that it
constitutes the plea agreement between the parties. I understand that no additional
promises, agreements, or conditions have been made or will be made unless set
forth in writing and signed by the parties. I want to plead guilty pursuant to this
plea agreement.

AGREED AND ACCEPTED:

Yu" Qin Cu Date: 11 j> iF

Yungin Liu

I have reviewed and discussed with my client this plea agreement and all of
its provisions, including those addressing the charge, sentencing, stipulations
(including the attached Schedule A), waiver, forfeiture, and immigration
consequences. My client understands this plea agreement fully and wants to plead
guilty pursuant to it.

# - Date: ¥ c/ 023
Robert Hazzard, Esq.

Counsel for Defendant

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Plea Agreement With Yungin Liu

Schedule A

1. This Office and Yunqin Liu (“Liu”) recognize that the United States
Sentencing Guidelines do not bind the sentencing judge. Each party nevertheless
agrees to these stipulations.

2. The version of the Guidelines effective November 1, 2021 applies in
this case.

8. The applicable guideline is U.S.S.G. § 251.1. This guideline carries a
Base Offense Level of 8. See U.S.S.G. § 251.1(a)(2).

A. Because the offense involved approximately $276,348,727, which is
more than $250,000,000 but less than $550,000,000, the offense level is increased by
28 levels. See U.S.S.G. § 2B1.1(b)(1)(O). Therefore, the offense level is 36.

5. Liu was a minor participant in the offense pursuant to U.S.S.G. §
3B1.2(b), so the offense level is decreased by 2 levels.

6. As of the date of this letter, Liu has clearly demonstrated a recognition
and affirmative acceptance of personal responsibility for the offense charged.
Therefore, a downward adjustment of 2 levels for acceptance of responsibility is
appropriate if Liu’s acceptance of responsibility continues through the date of
sentencing. See U.S.S.G. § 3E1.1(a).

7. As of the date of this letter, Liu has assisted authorities in the
investigation or prosecution of her own misconduct by timely notifying authorities
of her intention to enter a plea of guilty, thereby permitting this Office to avoid
preparing for trial and permitting this Office and the court to allocate their
resources efficiently. At sentencing, this Office will move for a further 1-point
reduction in Liu’s offense level pursuant to U.S.S.G. § 3E1.1(b) if the following
conditions are met: (a) Liu enters a plea pursuant to this agreement, (b) this Office,
in its discretion, determines that Liu’s acceptance of responsibility has continued
through the date of sentencing and Liu therefore qualifies for a 2-point reduction for
acceptance of responsibility pursuant to U.S.S.G. § 3E1.1(a), and (c) Liu’s offense
level under the Guidelines prior to the operation of § 3E1.1(a) is 16 or greater.

8. Accordingly, the parties agree that the total Guidelines offense level
applicable to Liu is 31 (the “Total Offense Level”).

g. Each party agrees not to advocate for any term of imprisonment
outside the Guidelines range resulting from (a) the Total Offense Level and (b) the
criminal history category that the sentencing judge applies under Chapter 4 of the
Guidelines without any departure or variance.

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10. Ifthe term of imprisonment does not exceed 60 months, and except as
specified in the next paragraph below, Liu will not challenge or seek to reduce by
any means any component of the sentence imposed by the sentencing judge for any
reason other than ineffective assistance of counsel. The term “any means” includes a
direct appeal under 18 U.S.C. § 3742 or 28 U.S.C. § 1291, a motion to vacate the
sentence under 28 U.S.C. § 2255, a motion to reduce the term of imprisonment
under 18 U.S.C. § 3582(c)(1) or (c)(2), a motion for early termination of supervised
release under 18 U.S.C. § 3583(e)(1), and any other appeal, motion, petition, or writ,
however captioned, that seeks to attack or modify any component of the sentence. If
the term of imprisonment is at least 60 months, this Office will not challenge by
appeal, motion, or writ any component of the sentence imposed by the sentencing
judge. The provisions of this paragraph bind the parties even if the sentencing judge
employs a Guidelines analysis different from the one above.

11. Both parties reserve the right to file or to oppose any appeal, collateral
attack, writ or motion not barred by the preceding paragraph or any other provision
of this plea agreement. Moreover, the preceding paragraph does not apply to:

(a) | Any proceeding to revoke the term of supervised release.

(b) A motion to reduce the term of imprisonment under 18 U.S.C.
§ 3582(c)(1)(A).

(c) An appeal from the denial of a § 3582(c)(1)(A) motion on the
grounds that the court erred in finding no extraordinary and
compelling circumstances warranting a reduced term of
imprisonment or that the court failed to consider those
circumstances as a discretionary matter under the applicable

factors of 18 U.S.C. § 35538(a).

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